

Matter of People ex rel. Pinto v Schiraldi (2021 NY Slip Op 06563)





Matter of People ex rel. Pinto v Schiraldi


2021 NY Slip Op 06563


Decided on November 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 23, 2021

Before: Kapnick, J.P., Friedman, González, Rodriguez, Pitt, JJ. 


Index No. 158184/21 Appeal No. 14883 Case No. 2021-03877 

[*1]In the Matter of The People of the State of New York, ex rel., Nicholas J. Pinto, On Behalf of Angel Pagan Maldonado, Petitioner-Appellant,
vVincent Schiraldi, as Commissioner, New York City Department of Correction, Respondent-Respondent.


Nicholas J. Pinto, New York, for appellant.
Bridget G. Brennan, Special Narcotics Prosecutor, New York (David S. Torreblanca of counsel), for respondent.



Judgment (denominated an order), Supreme Court, New York County (Kate Paek, J.), entered on or about September 23, 2021, denying the petition for a writ of habeas corpus and dismissing the proceeding, unanimously affirmed, without costs.
We find that the writ of habeas corpus was properly denied (see  CPLR 7010).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 23, 2021








